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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

    UNITED STATES OF AMERICA,                        )
                                                     )
             Plaintiff,                              )
                                                     )
    v.                                               )     No. 4:17 CR 455 JAR DDN
                                                     )
    DANIEL HARRIS,                                   )
                                                     )
             Defendant.                              )


                     MOTION FOR PRETRIAL DETENTION AND HEARING

          Comes now the United States of America, by and through Attorneys, Jeffrey B. Jensen, United

States Attorney for the Eastern District of Missouri, and Linda Lane, Assistant United States Attorneys

for said District, and moves the Court to order Defendant detained pending trial, and further requests that

a detention hearing be held three (3) days from the date of Defendant's initial appearance before the

United States Magistrate pursuant to Title 18, United States Code, '3141, et seq.

          As and for its grounds, the United States of America states as follows:

            1.      Defendant is charged with bank robbery in violation of Title 18, Section 2113(a).

            2.      Pursuant to Title 18, United States Code, Section 3142(g), the weight of the

    evidence against defendant, defendant’s history and characteristics, and the nature and

    seriousness of the danger to any person or the community that would be posed by defendant’s

    release warrant defendant’s detention pending trial.
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          WHEREFORE, the United States requests this Court to order Defendant detained prior to trial,

and further to order a detention hearing three (3) days from the date of Defendant's initial appearance.



                                                          Respectfully submitted,

                                                          JEFFREY B. JENSEN
                                                          United States Attorney

                                                            /s/ _|Çwt _tÇx
                                                          LINDA LANE, # 0011451IA
                                                          Assistant United States Attorney
